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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION



 NETLIST, INC.                                          Civil Case No. 2:21cv463-JRG

                Plaintiff,                              JURY TRIAL DEMANDED

 v.

 SAMSUNG ELECTRONICS CO., LTD.,
 SAMSUNG ELECTRONICS AMERICA, INC.
 and SAMSUNG SEMICONDUCTOR, INC.,

                Defendants.


                    NOTICE OF COMPLIANCE REGARDING
               SAMSUNG’S INITIAL AND ADDITIONAL DISCLOSURES

       Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and

Samsung Semiconductor, Inc., (collectively, “Defendants”) hereby notify the Court that pursuant

to the Court’s Docket Control Order [Dkt. No. 34], they have served their Initial and Additional

Disclosures on counsel for Plaintiff via electronic mail on June 8, 2022.


Date: June 8, 2022                            Respectfully submitted,

                                              /s/ Katherine Reardon

                                              Ruffin B. Cordell
                                              TX Bar No. 04820550
                                              cordell@fr.com
                                              Michael J. McKeon
                                              D.C. Bar No. 459780
                                              mckeon@fr.com
                                              FISH & RICHARDSON P.C.
                                              1000 Maine Avenue, SW
                                              Washington, DC 20024
                                              Telephone: (202) 783-5070
                                              Facsimile: (202) 783-2331

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                                   Katherine Reardon
                                   NY Bar No. 5196910
                                   kreardon@fr.com
                                   FISH & RICHARDSON P.C.
                                   1180 Peachtree St., NE, 21st Floor
                                   Atlanta, GA 30309
                                   Telephone: (404) 892-5005
                                   Facsimile: (404) 892-5002

                                   Francis J. Albert
                                   CA Bar No. 247741
                                   albert@fr.com
                                   FISH & RICHARDSON P.C.
                                   12860 El Camino Real, Ste. 400
                                   San Diego, CA 92130
                                   Telephone: (858) 678-5070
                                   Facsimile: (858) 678-5099

                                   Tony Nguyen
                                   TX Bar No. 24083565
                                   nguyen@fr.com
                                   FISH & RICHARDSON P.C.
                                   1221 McKinney Street, Ste. 2800
                                   Houston, TX 77010
                                   Telephone: (713) 654-5300
                                   Facsimile: (713) 652-0109

                                   Melissa Richards Smith
                                   melissa@gillamsmith.com
                                   GILLAM & SMITH, LLP
                                   303 South Washington Ave.
                                   Marshall, Texas 75670
                                   Telephone: (903) 934-8450
                                   Facsimile: (903) 934-9257

                                   Attorneys for Defendants Samsung Electronics
                                   Co., Ltd.; Samsung Electronics America, Inc.; and
                                   Samsung Semiconductor, Inc.




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on June 8, 2022. As of this date, all counsel

of record have consented to electronic service and are being served with a copy of this document

through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                    /s/ Katherine Reardon




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